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               EXHIBIT B

                 PUBLIC - REDACTED
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 YOUTUBE REMOTE (YTR) DOES
NOT INVALIDATE THE ’033 PATENT




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Summary Judgment – Legal Standards



 Summary judgment is a “lethal weapon and courts must be mindful of its aims
  and targets and beware of overkill in its use.”
                          Kangaroos U.S.A. v. Caldor, Inc., 778 F.2d 1571, 1574 (Fed. Cir. 1985) (emphasis added)


 Summary judgment is only appropriate “if ‘there is no genuine issue as to any
  material fact and the moving party is entitled to judgment as a matter of law.’”
                                Vallavista Corp. v. Amazon.com, Inc., 657 F. Supp. 2d 1132, 1135 (N.D. Cal. 2008)
                                                                 (quoting Fed. R. Civ. P. 56(c)) (emphasis added)



 Granting a motion for “summary judgment of noninfringement” “would require
  finding that no reasonable juror, when drawing all reasonable inferences in
  favor of [patentee], could return a verdict of infringement.”
                    Conceptus, Inc. v. Hologic, Inc., 771 F. Supp. 2d 1164, 1175 (N.D. Cal. 2010) (emphasis added)




                                                                                                                     2
                Case 3:20-cv-06754-WHA Document 583-2 Filed 04/21/23 Page 4 of 61
Summary Judgment – Legal Standards



 When the summary judgment motion is “to invalidate an existing patent, the
  burden on the moving party is indeed heavy.”
                            Tillotson, Ltd. v. Walbro Corp., 831 F.2d 1033, 1036 (Fed. Cir. 1987) (emphasis added)


 And “a moving party seeking to invalidate a patent at summary judgment must
  submit such clear and convincing evidence of invalidity so that no reasonable
  jury could find otherwise.”
                            Eli Lilly & Co. v. Barr Lab’ys, Inc., 251 F.3d 955, 962 (Fed. Cir. 2001) (emphasis added)




                                                                                                                        3
                Case 3:20-cv-06754-WHA Document 583-2 Filed 04/21/23 Page 5 of 61
YTR Does Not Anticipate or Render Obvious the ’033 Patent

  The record is replete with genuine disputes over material facts regarding what
   YTR discloses with respect to the asserted claims of the ’033 Patent.

  A reasonable juror, especially when drawing all reasonable inferences in favor of
   Sonos, could return a verdict that the ’033 Patent claims are valid over YTR.

  The Court should let the jury decide whether the ’033 Patent is valid over YTR.




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YTR Does Not Anticipate or Render Obvious the ’033 Patent

  Because Google crammed 4 different summary judgment motions into a single
   filing, for the sake of brevity, Sonos has focused on YTR’s lack of disclosure
   concerning limitation 1.7 of claim 1 of the ’033 Patent.

  Limitation 1.7 is directed to a playback device taking over responsibility for
   playback of a remote playback queue.

  It should be understood that the same arguments apply to the corresponding
   limitation 12.4 in claim 12 of the ‘033 Patent.




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Representative Claim 1 of ’033 Patent – Relevant Portions


[1.0]      A computing device comprising:
[1.1]      at least one processor;
[1.2]      a non-transitory computer-readable medium; and
[1.3]      program instructions . . . comprising:
[1.4]      operating in a first mode in which the computing device is configured for playback of a
remote playback queue provided by a cloud-based computing system associated with a cloud-
based media service;
[1.5]      . . . displaying a representation of one or more playback devices . . . ;
[1.6]      . . . receiving user input indicating a selection of at least one given playback device . . . ;
[1.7]      based on receiving the user input, [1.7(a)] transmitting an instruction for the at least
one given playback device to take over responsibility for playback of the remote playback queue
from the computing device, [1.7(b)] wherein the instruction configures the at least one given
playback device to (i) communicate with the cloud-based computing system in order to obtain
data identifying a next one or more media items that are in the remote playback queue, (ii) use
the obtained data to retrieve at least one media item in the remote playback queue from the
cloud-based media service; and (iii) play back the retrieved at least one media item;
[1.8]      detecting an indication that playback responsibility for the remote playback queue has
been successfully transferred from the computing device to the at least one given playback device;
and
[1.9]      . . . transitioning from i) the first mode . . . to ii) a second mode . . . .


                                                                                                             6
                   Case 3:20-cv-06754-WHA Document 583-2 Filed 04/21/23 Page 8 of 61
YTR Does Not Disclose Limitation 1.7 of the ’033 Patent
Limitation 1.7: . . . [1.7(a)] transmitting an instruction for the at least one given playback
device to take over responsibility for playback of the remote playback queue from the
computing device, [1.7(b)] wherein the instruction configures the at least one given playback
device to (i) communicate with the cloud-based computing system in order to obtain data
identifying a next one or more media items that are in the remote playback queue . . .

    Limitation 1.7(a) requires configuring the “playback device” to “take over
     responsibility for playback of the remote playback queue.”

    Limitation 1.7(b) requires configuring the “playback device” to “obtain data
     identifying a next one or more media items that are in the remote playback
     queue.”

    As explained below, regardless of its mode of operation, the YTR System
     does not teach either (let alone both) of these subparts of limitation 1.7.




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YOUTUBE REMOTE (YTR)
     OVERVIEW




                                                                    8
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 YTR System – Party Mode Versus Non-Party Mode

    After using YTR’s non-party mode to argue that YTR used a local playback
     queue that invalidates Claim 13 of the ’615 Patent, Google now attempts to use
     YTR’s party mode to argue that YTR used a remote playback queue that
     invalidates Claim 1 of the ’033 Patent.

    But YTR party mode is merely an account extension of YTR non-party mode.

    YTR’s non-party mode allowed multiple remote controls and multiple Leanback
     Screens to communicate with each other                             .

    YTR’s party mode did the same thing – it allowed multiple remote controls and
     multiple Leanback Screens to communicate with each other
                 .

    The only difference was that non-party mode remote controls and Leanback
     Screens had to be logged into the same YouTube Account, while party mode
     purportedly permitted remote controls and Leanback Screens logged into
     different YouTube Accounts.

                                       Sonos MSJ Opp. (Dkt. 509.02), pp. 4-5 (citing Ex. F (Dkt. 509.04), ¶199)
May Contain Google Confidential Material                                                                          9
                    Case 3:20-cv-06754-WHA Document 583-2 Filed 04/21/23 Page 11 of 61
 YTR System Architecture – Non-Party Mode




                                          Sonos MSJ Opp. (Dkt. 509.02), Ex. F (Dkt. 509.04), ¶166 (annotated)
May Contain Google Confidential Material                                                                        10
                    Case 3:20-cv-06754-WHA Document 583-2 Filed 04/21/23 Page 12 of 61
 YTR System Architecture – Party Mode




                                          Sonos MSJ Opp. (Dkt. 509.02), Ex. F (Dkt. 509.04), ¶166 (annotated)
May Contain Google Confidential Material                                                                        11
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 YTR System – Similarity Between Party and Non-Party Modes




                                         Sonos MSJ Opp. (Dkt. 509.02), pp. 5 (citing Ex. F (Dkt. 509.04), ¶200)
May Contain Google Confidential Material                                                                          12
                    Case 3:20-cv-06754-WHA Document 583-2 Filed 04/21/23 Page 14 of 61
 YTR System – Non-Party Mode Messages




                                            Demonstrative from Rebuttal Expert Report of Douglas C. Schmidt
May Contain Google Confidential Material                                                                      13
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 YTR System – Party Mode Messages




                                            Demonstrative from Rebuttal Expert Report of Douglas C. Schmidt
May Contain Google Confidential Material                                                                      14
                       Case 3:20-cv-06754-WHA Document 583-2 Filed 04/21/23 Page 16 of 61
 YTR System – Similarity Between Party and Non-Party Modes


       Google argues that YTR party mode uses a “remote playback queue”
        because “when the party queue is edited, the playback devices depend on
        the queue in the cloud to receive those edits.” Reply, p. 4.

       But this argument doesn’t hold water because the same thing happens
        when the queue is edited in non-party mode, which indisputably uses a
        “local playback queue.”

       Just like in party mode, in non-party mode, any edits to the queue are sent
        by the              in the cloud to the playback devices.




                                    Schmidt Reb. Report, ¶¶177, 213-214; Levai Dep. Tr. (January 6, 2023),
May Contain Google Confidential Material    51:6-21, 52:5-14, 54:19-55:10, 55:11-18, 58:16-9, 59:15-60:12
                                                                                                             15
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 YTR System – Non-Party Mode Messages




May Contain Google Confidential Material                                                 16
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 YTR System – Party Mode Messages




May Contain Google Confidential Material                                                 17
                    Case 3:20-cv-06754-WHA Document 583-2 Filed 04/21/23 Page 19 of 61
 YTR Party Mode – Local Playback Queue Independent of


     Google’s technical expert, Dr. Bhattacharjee, further explained:




     This is exactly what happens in YTR party mode: the Screens maintain a
      local playback queue – regardless of “whether a remote copy was available
      or not” – and can continue playing videos
             .

                                               Sonos MSJ Opp. (Dkt. 509.02), p. 6 (quoting Dkt. 210.03, ¶ 74)
May Contain Google Confidential Material                                                                        18
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 YTR Party Mode – Local Playback Queue Independent of




      Janos Levai
     YTR Software
    Engineer, Google




     Sonos MSJ Opp. (Dkt. 509.02), Ex. F (Dkt. 509.04), ¶210 (quoting Levai Dep. Tr. (January 6, 2023), 59:15-60:12)
May Contain Google Confidential Material                                                                               19
                    Case 3:20-cv-06754-WHA Document 583-2 Filed 04/21/23 Page 21 of 61
 YTR System – Local Playback Queue Independent of


     Thus, according to Google’s YTR software engineer, Mr. Levai,




     Put another way, in either YTR party mode or non-party mode, the local
      playback queue get a copy of the entire playlist and does not depend on
      any playlist maintained by the           .




                                                                         Sonos MSJ Opp. (Dkt. 509.02), p. 7
May Contain Google Confidential Material                                                                      20
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 YTR System – Local Playback Queues In Non-Party Mode




                                            Demonstrative from Rebuttal Expert Report of Douglas C. Schmidt
May Contain Google Confidential Material                                                                      21
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 YTR System – Local Playback Queues In Party Mode




                                            Demonstrative from Rebuttal Expert Report of Douglas C. Schmidt
May Contain Google Confidential Material                                                                      22
                    Case 3:20-cv-06754-WHA Document 583-2 Filed 04/21/23 Page 24 of 61
 YTR System – Local Playback Queue Does Not Pull from

     In arguing that the ‘033 Patent does not disclose a remote playback queue,
      Google’s technical expert, Dr. Bhattacharjee, opined that a “pull” of media
      items is associated with a remote playback queue, while a “push” of media
      items is associated with a local playback queue:

         While the proxy server is in the cloud, there is no disclosure in the patent that
         the local playback system is configured to communicate with the cloud-based
         computing system after receiving the claimed instruction. Instead, the patent
         at most suggests that the one or more URLs are "pushed" to the local
         playback [system] from the third-party application via the proxy server when
         transfer is initiated. Id. There is no disclosure of the local playback
         system receiving the claimed instruction and performing a "pull" in order
         to obtain data identifying a next one or more media items that are in the
         remote playback queue.

     Same for YTR:


     Under Google’s logic, that means YTR does not use a remote playback queue.

                   Opening Expert Report of Samrat Bhattacharjee Regarding Invalidity of [the ’033 Patent], ¶714
May Contain Google Confidential Material                                                                           23
                    Case 3:20-cv-06754-WHA Document 583-2 Filed 04/21/23 Page 25 of 61
 YTR System – Local Playback Queues In Party Mode




                                 Demonstrative from Rebuttal Expert Report of Douglas C. Schmidt (annotated)
May Contain Google Confidential Material                                                                       24
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    THE MEANING OF
  “PLAYBACK QUEUE”




                                                                     25
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Judicial Estoppel


   Google tries to avoid estoppel by focusing on the prior invalidity issues
    before the Court regarding the ’615 Patent while ignoring the
    noninfringement arguments that Google made. Reply, pp. 1-2.

   But Google is estopped from arguing a different meaning for “playback
    queue” because of what Google asserted for noninfringement, not invalidity.

   For purposes of summary judgment in the Patent Showdown, the parties did
    not dispute whether YTR had a local playback queue.




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Judicial Estoppel

   Google distinguishes (Reply, p. 1) the Patent Showdown summary judgment
    as being related to YTR1, while this summary judgment relates to YTR2.

   But Google relied on both YTR1 and YTR2 in the Patent Showdown – it just
    conveniently hid the fact that YTR2 included a party mode.




                          Opening Expert Report of Samrat Bhattacharjee for Patent Showdown, ¶¶169-171
                                                                                                         27
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Judicial Estoppel

   As Google noted (Reply, p. 3), the Court construed “playback queue” to
    mean “a list of multimedia content selected for playback.” Dkt. 316, p. 5.

   In its summary judgment decision, however, the Court further construed
    “playback queue” based on Google’s noninfringement arguments.

   That the Court further construed the term “playback queue” is evident from
    the fact that the accused YT System indisputably had “a list of multimedia
    content selected for playback” stored locally on the accused playback
    devices – “the last played, the current one, and the next one.”

      THE COURT: Now, as I read the paperwork, what you do have is the last
      played, the current one, and the next one?

      MR. VERHOEVEN [FOR GOOGLE]: Right.
                                                                     Dkt. 308, 7/13/22 Hr’g Tr., 42-43




                                                                                                         28
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Judicial Estoppel

   Thus, for there to be no infringement, “playback queue” must have meant
    more than just “a list of multimedia content selected for playback.”

   In fact, Google argued that it meant a lot more.

   The Court adopted Google’s arguments.

   Google cannot change its tune now.




                                                                                     29
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Google Told the Court There Can Be Only One Queue

   Google also told the Court that the existence of a “local playback queue” in a
    system is mutually exclusive of a “remote playback queue” (or “cloud
    queue”) and vice versa:

      THE COURT: All right. So, Mr. Verhoeven, the argument against you
      here is that -- there are two queues: There is one in the Cloud,
      and there is another one on the speaker. The local playback queue
      is on the speaker, and all it needs to know is what is the next one. And
      so that’s good enough for its purposes and just calls the next one. . . .
      What do you say to that?

      MR. VERHOEVEN [FOR GOOGLE]: I say that that’s unpersuasive in
      the extreme . . . We’re talking about a queue. Somebody has to own
      that queue. Somebody has to maintain that queue. Somebody has to be
      in charge of that queue. Who is it? It’s the Cloud. That’s why it’s called
      the Cloud queue. The queue is maintained in the Cloud. If you want to
      know -- if you’re the speaker and you want to know the next item in the
      queue, you ask the Cloud because the Cloud maintains the queue.
                   Sonos MSJ Opp. (Dkt. 509.02), pp. 2-3 (quoting Dkt. 308, 7/13/22 Hr’g Tr., at 59:16-60:9)
                                                                                                               30
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Google Told the Court There Can Be Only One Queue



     THE COURT: Now, as I read the paperwork, what you do have is the last
     played, the current one, and the next one?

     MR. VERHOEVEN [FOR GOOGLE]: Right.

     THE COURT: Why isn’t that enough to satisfy the queue?

     MR. VERHOEVEN [FOR GOOGLE]: Because that’s not a queue.

     THE COURT: Why isn’t it?

     MR. VERHOEVEN [FOR GOOGLE]: That’s the processing of the queue
     that’s resident on the Cloud.




                                                                     Dkt. 308, 7/13/22 Hr’g Tr., 42-43
                                                                                                         31
                Case 3:20-cv-06754-WHA Document 583-2 Filed 04/21/23 Page 33 of 61
The Court Relied On Google’s Prior Representations


   Based on Google’s representations, the Court indicated in its summary
    judgment decision for the ’615 Patent (Dkt. 316) that:

      • A “playback queue” must have a complete list of all the multimedia items
        that are to be played back – a “subset” or “short list” of such items is not
        enough to be a “playback queue.” Id., 9 (“The groups of three items
        stored by the respective apps are not lists of multimedia content
        selected for playback.”), 10 (“The passage thus distinguishes a local
        playback queue from the ‘short list of tracks.’”).

      • A queue was not a “playback queue” if it “merely provide[d] the means to
        process the list[] for playback.” Id., 10 (emphasis in original).

      • “In short,” the “playback queue” is the “queue [that] runs the show.” Id.




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YTR DOES NOT DISCLOSE
     LIMITATION 1.7




                                                                      33
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YTR System Fails to Disclose Limitation 1.7 of the ’033 Patent


   Limitation 1.7 reads as follows:

      [1.7] based on receiving the user input, [1.7(a)] transmitting an instruction
      for the at least one given playback device to take over responsibility for
      playback of the remote playback queue from the computing device, [1.7(b)]
      wherein the instruction configures the at least one given playback device to
      (i) communicate with the cloud-based computing system in order to obtain
      data identifying a next one or more media items that are in the remote
      playback queue, (ii) use the obtained data to retrieve at least one media
      item in the remote playback queue from the cloud-based media service;
      and (iii) play back the retrieved at least one media item

   Neither YTR party mode nor YTR non-party mode discloses this limitation
    and its subparts.

   For the same reasons, YTR does not disclose limitations 1.8-1.9, which build
    on limitation 1.7.

                                                                Sonos MSJ Opp. (Dkt. 509.02), pp. 7-10
                                                                                                         34
                    Case 3:20-cv-06754-WHA Document 583-2 Filed 04/21/23 Page 36 of 61
 YTR System Does Not Disclose Limitation 1.7(a)


     Limitation 1.7(a) reads: transmitting an instruction for the at least one given
      playback device to take over responsibility for playback of the remote
      playback queue from the computing device.

     The YTR Leanback Screens – the alleged “playback devices” – use a local
      playback queue regardless of which mode they are in.

     As such, they do not “take over responsibility for playback of the remote
      playback queue from the computing device.”




                                                                         Sonos MSJ Opp. (Dkt. 509.02), p. 8
May Contain Google Confidential Material                                                                      35
                Case 3:20-cv-06754-WHA Document 583-2 Filed 04/21/23 Page 37 of 61
YTR System Does Not Disclose Limitation 1.7(a)


   Google’s argument (Reply, p. 5) that YTR’s use of “service-recommended
    videos” constitutes a “remote playback queue” is misplaced.

   Google only relies on “service-recommended videos” for limitation 1.4, not
    limitation 1.7.

   The ‘033 Patent claims require both the remote control (limitation 1.4) and
    the playback devices (limitation 1.7) to use a remote playback queue:

      [1.4]. . . the computing device is configured for playback of a remote playback
      queue . . . ;

      [1.7]. . . the at least one given playback device to take over responsibility for
      playback of the remote playback queue from the computing device . . .




                                                                                          36
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 YTR System Does Not Disclose Limitation 1.7(b)


     Limitation 1.7(b)(i) reads: wherein the instruction configures the at least one
      given playback device to (i) communicate with the cloud-based computing
      system in order to obtain data identifying a next one or more media items
      that are in the remote playback queue.

     Google argues that YTR discloses subpart (i) because the Leanback
      Screens “


                                                                          ” Google’s Mot. at 11.

     This argument is flawed for at least three reasons.




                                                                         Sonos MSJ Opp. (Dkt. 509.02), p. 8
May Contain Google Confidential Material                                                                      37
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YTR System Does Not Disclose Limitation 1.7(b)


   First, the claim language in Limitation 1.7(b)(i) that “data identifying a next
    one or more media items” does not have to be a URL, but rather, could be
    another type of identifier, such as a videoID.

   The claim plainly does not refer to a URL.

   The ’033 Patent’s specification makes clear that, in addition to a URL, the
    claimed “data” may be “an identifier” or “some other identification,” such as a
    “song identifier.” See, e.g., ’033 Patent at 12:50-58 (“a URL (or some other
    identification or address) for a song and/or playlist”); 15:55-63 (“an
    identifier for a single track, a playlist, a streaming radio station, a
    programmed radio station, and so on”); 13:33-37 (“an application can pass a
    song identifier to a local playback system [to] find[] an available audio
    stream”).




                                                                     Sonos MSJ Opp. (Dkt. 509.02), p. 8
                                                                                                          38
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 YTR System Does Not Disclose Limitation 1.7(b)


     Google now agrees that “data identifying . . . media items” may be either a
             or a    . Reply, p. 6 n. 5.

     However, Google argues that in YTR such data is only a                                     , and
      not the      . Reply, p. 6.

     Sonos disputes this conclusion, as the       is what resides in the
      playback queue and is what the playback device uses to obtain the media
      content located at the              .

     In fact, the                    cannot be obtained without the                      .




                                                                          Sonos MSJ Opp. (Dkt. 509.02), p. 8
May Contain Google Confidential Material                                                                       39
                       Case 3:20-cv-06754-WHA Document 583-2 Filed 04/21/23 Page 41 of 61
 YTR System Does Not Disclose Limitation 1.7(b)


     Second, limitation 1.7(b)(i) requires that the “data identif[ies] a next one or
      more media items.”

     In YTR, the                 Google points to only identify the current media
      item for playback, not the next media item.

    



    


     Therefore, the Leanback Screens use the                and corresponding
                     to obtain the video content that it is currently set to play
      back, not the video that is set to play back next.


         Sonos MSJ Opp. (Dkt. 509.02), p. 9 (citing Ex. F (Dkt. 509.04), ¶¶176, 212; Ex. E (Dkt. 509.03), ¶¶162-166)
May Contain Google Confidential Material                                                                               40
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 YTR System Does Not Disclose Limitation 1.7(b)




                                                                       Ex. E (Dkt. 509.03), ¶166 (annotated)
May Contain Google Confidential Material                                                                       41
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YTR System Does Not Disclose Limitation 1.7(b)


   Google’s argument (Reply, p. 6) that Sonos’s expert, Dr. Schmidt, provided
    an opinion that ”             ” constitute “data identifying a next one or
    more media items” is highly misleading.

   Google cites to Paragraph 502 of Dr. Schmidt’s opening report, which is
    directed to the infringement of Google’s NIA #3.




   NIA #3 is a new design that has not been commercially released yet and has
    absolutely nothing to do with how the prior art YTR operated.




     Sonos MSJ Opp. (Dkt. 509.02), p. 9 (citing Ex. F (Dkt. 509.04), ¶¶176, 212; Ex. E (Dkt. 509.03), ¶¶162-166)
                                                                                                                   42
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YTR System Does Not Disclose Limitation 1.7(b)


   Google’s assertion (Reply, p. 6) that there is “evidence showing that a
    playback device also obtains                    for each of the next videos in
    the party queue (Video B, Video C, etc.)” is highly misleading as well.

   As Google’s expert, Dr. Bhattacharjee, explained

    Dkt. 482-6 ¶¶ 328-329.

   Thus,                are obtained one at a time for the current video – YTR
    does not access multiple Bandaid URLs for the current and a next video at
    the same time.




                                                                                     43
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 YTR System Does Not Disclose Limitation 1.7(b)


    




                                                                       Ex. E (Dkt. 509.03), ¶166 (annotated)
May Contain Google Confidential Material                                                                       44
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 YTR System Does Not Disclose Limitation 1.7(b)


    

                                                                   , and so on.




                                                                       Ex. E (Dkt. 509.03), ¶166 (annotated)
May Contain Google Confidential Material                                                                       45
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 YTR System Does Not Disclose Limitation 1.7(b)


     Third, limitation 1.7(b)(i) also requires that the playback device “obtain data
      identifying a next one or more media items that are in the remote playback
      queue.”

     In either YTR party mode or non-party mode, each Leanback Screen gets
      such data from its local playback queue, not a remote playback queue.

     As explained by Mr. Levai, the Leanback Screens in YTR party mode do not
      ask the             for “which video to play next when the current [video]
      ended.”

     Neither the “Player Service” nor the                                        maintains any YTR
      playback queues or playlists – they simply provide




  Sonos MSJ Opp. (Dkt. 509.02), pp. 9-10 (citing Ex. E (Dkt. 509.03), ¶¶163-66, Ex. F (Dkt. 509.04), ¶¶170, 204, 201)
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 YTR System Does Not Disclose Limitation 1.7(b)




                                                                       Ex. E (Dkt. 509.03), ¶166 (annotated)
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 YTR System Does Not Disclose Limitation 1.7(b)




                                                                       Ex. E (Dkt. 509.03), ¶166 (annotated)
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YTR DOES NOT DISCLOSE
     LIMITATION 1.4




                                                                      49
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YTR Does Not Disclose Limitation 1.4 of the ’033 Patent
Limitation 1.4: operating in a first mode in which the computing device is configured for
playback of a remote playback queue provided by a cloud-based computing system associated
with a cloud-based media service.


    Limitation 1.4 requires the “computing device” (e.g., phone) to be
     “configured for playback of a remote playback queue.”

    Regardless of its mode of operation, the YTR System does not disclose
     limitation 1.4.

    The remote controls in the YTR System use a local playback queue.

    At the very least, there is a genuine dispute over the material facts regarding
     this limitation.


                                          Rebuttal Expert Report of Douglas C. Schmidt, ¶¶171-172, 327-331
                                                                                                             50
                    Case 3:20-cv-06754-WHA Document 583-2 Filed 04/21/23 Page 52 of 61
 YTR Does Not Disclose Limitation 1.4 of the ’033 Patent

     In non-party mode, the YTR remote control uses a local
      playback queue:




                                 Demonstrative from Rebuttal Expert Report of Douglas C. Schmidt (annotated)
May Contain Google Confidential Material                                                                       51
                    Case 3:20-cv-06754-WHA Document 583-2 Filed 04/21/23 Page 53 of 61
 YTR Does Not Disclose Limitation 1.4 of the ’033 Patent

     In party mode, the YTR remote control also uses a local
      playback queue:




                                 Demonstrative from Rebuttal Expert Report of Douglas C. Schmidt (annotated)
May Contain Google Confidential Material                                                                       52
             Case 3:20-cv-06754-WHA Document 583-2 Filed 04/21/23 Page 54 of 61
YTR Does Not Disclose Limitation 1.4 of the ’033 Patent

   YTR may “recommend” videos that, if desired, a user can
    manually select for playback by adding such videos (i.e.,
    pressing the plus button next to the recommended video) to the
    playback queue stored locally on the remote control:




                                             Video #6 (GOOG-SONOSNDCA-00071318) at 1:44-1:50
                                                                                               53
            Case 3:20-cv-06754-WHA Document 583-2 Filed 04/21/23 Page 55 of 61
YTR Does Not Disclose Limitation 1.4 of the ’033 Patent

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                                                                    Dkt. 509.03, ¶¶125-28, 229, 241
                                                                                                      54
             Case 3:20-cv-06754-WHA Document 583-2 Filed 04/21/23 Page 56 of 61
YTR Does Not Disclose Limitation 1.4 of the ’033 Patent

   Google’s automatic playback of “recommended” videos
    argument is new and should be stricken.

   Google did not raise this argument in its contentions, which
    creates severe prejudice for Sonos, which has never had an
    opportunity to take discovery about this theory.

   Discovery could have revealed that the cloud server providing
    the “service-recommended media items” in YTR did not
    maintain a remote playback queue, but rather, aggregated a
    new set of recommended videos upon each request to fill the
    local playback queue of the requesting remote control.

                                                                                  Dkt. 463.02, pp. 7-8
                                                                                                         55
             Case 3:20-cv-06754-WHA Document 583-2 Filed 04/21/23 Page 57 of 61
YTR Does Not Disclose Limitation 1.4 of the ’033 Patent

   Google’s YTR argument points to disjointed modes of
    operation (non-party mode’s “service-recommended media
    items” and party mode) to construct “remote playback queues”
    at both the phone and the screen.

   There is no dispute that YTR non-party mode and party mode
    are separate and distinct modes of operation that cannot be run
    at the same time.

   According to Google, YTR party mode relies on a “party
    queue” created by a user, not a set of media items
    recommended by a cloud server.

                                                        Google’s MSJ (Dkt. 482.12), pp. 6-7, 11-12
                                                                                                      56
             Case 3:20-cv-06754-WHA Document 583-2 Filed 04/21/23 Page 58 of 61
YTR Does Not Disclose Limitation 1.4 of the ’033 Patent

   In short, Google has not demonstrated, with clear and
    convincing evidence, and without any genuine disputes over
    any material facts, that YTR non-party mode and YTR party
    mode could be used together at the same time to disclose a
    system that meets both limitations 1.4 and 1.7.

   They cannot.




                                                                                  57
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 IT WOULD NOT HAVE BEEN
 OBVIOUS TO ADD A DEVICE
PICKER TO YTR PARTY MODE




                                                                       58
              Case 3:20-cv-06754-WHA Document 583-2 Filed 04/21/23 Page 60 of 61
It Would Not Have Been Obvious to Add a “Device Picker”


   Limitations 1.5-1.6 require “displaying a representation of one
    or more playback devices” and “receiving user input indicating
    a selection of at least one given playback device,” respectively.

   It would not have been obvious to add such a device picker to
    YTR party mode.

   At the very least, there is a genuine dispute over the material
    facts regarding this limitation.




                                                                                   59
                    Case 3:20-cv-06754-WHA Document 583-2 Filed 04/21/23 Page 61 of 61
 It Would Not Have Been Obvious to Add a “Device Picker”

     As Sonos’s technical expert, Doug Schmidt, explained in his
      rebuttal expert report:

         The purpose of party mode is to allow a host and his or her guests to
         playback the same media items on their Leanback Screens . . . . Thus,
         there would be no need to use a device-picker to select a particular
         Leanback Screen for playback, when the desire is to have multiple
         Leanback Screens for playback. Doing so would result in the host or the
         guests having his or her Leanback Screen being undesirably excluded
         from the party playback. And even if only a single Leanback Screen was
         being used in a party mode session with multiple remote controls, there
         would be no need for a device-picker in such a case. In other words, not
         only is a device-picker unnecessary for party mode, it would ruin it.




                                                         Rebuttal Expert Report of Douglas C. Schmidt, ¶351
May Contain Google Confidential Material                                                                      60
